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              EXHIBIT 5
     (Republic Policy No. CDE 749)
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                                     ¯ :’ V~,RA]=tONS-- SPEcfAt:’~V’ERAGE POLi¢: :                         STOCK COMPANY
CDE 0749
                              []       REPUBLIC INSURANCE COMPANY
                              []       VANGUARD INSURANCE COMPANY
                           2727 TURTLE CREEK BOULEVARD, DALLAS, TEXAS 75219




  Item 1.     Policy Period: From ~ J~*

                                   12:01 A.M., Standard Time at the address of the named Insured as stated herein.

  Item 2.     Premium:             Advance Premium: $
                                   Rate:

                                M~nimum Premium; $
              If ~e Policy Period is more than one year and the premium
              payable

              Effe~ive Date                              1~ AnnIversaw                          2nd Anniversary



  Item 3. Coverage:




  Item4.       Limits of Liability: The limit of the Company’s liability shall be as stated herein, subject to all the
            : terms of thls policy having reference thereto.




  Item 5,     During the past thFee years no insurer has cancelled insurance issued to the named insured, similar to
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                                        (A Stock Insurance Company, Herein Called the Company)



                                                          ¯ EXCESS UMBRELLA POLICY
                                                             INSURING AGREEMENTS
1. COVERAGE
   ~he .Company hereby agrees, subi~ct to the limitat-ions,’terms and conditions herein~fter mentioned, to indemnify the lt~sured fo~"
¯ sums which the Insured shall be obliged to pay by reason of the liability imposed upon the Insured by law; or assume(! under eontrec~ or

   {a) Personal injuries, including death at any time resulting therefrom,
   Ib) Property Damage,
   {c} Advertising Liability,
caused by or arisEng out of each occurrence h~ppening anywhere in the world, end arising ~ut of the hazards covered by and as defined in
the Und~rlying Umbrella Policies stated below end issued by the "Underlying.Umbrella Insurers’*.



                                  UNDERLYING UMBRELLA INSURERS AND. POLICY NUMBER=


                                                       ILLo~ds K~017582 and various



2. LI~IT OF LIABILITY --UNDERLYING LIMITS



   (a) $75,O00,000.0~                         ultimate net loss in respect of each occur~en~, bu~


    Ib) $75,000,000.00                        In the aggregate for each annual period during the currertcy of t~ia F~oII~y sepal’atoll/ in respect of
                                            ¯ Produc~s Liability and separately in respect of Personal Injury.’ {fetal or ~on-fata~) bv Occupa~ional
                                              D[sease sustained by any employees of the Assured
 end the Company shall then be liable to pay only the excess thereof up to a ~urthe~
   |c} $3~O00~O00,00                 ultimate net loss in all respect of each occurrence --subiect to ~ limit of
 PIo $75,000,000.00

   (d) $3, OOO ~ 000,00                       in the aggregate for each annual period during th~ currency of this policy~ separately ~n respec~ of
 ]?/O $75,O00~000.00                          Pcoducts Liability and separately in respect of Persone~ I~iury ~fatal or non-f~a]] by Occupational
                                              Disease sustained by any employees of the Assured,


                                                                     DEFINITIONS

1, NAMED iNSURED=
   The words "Named Insured" includes The Named Insured Stated in The Deciarationa fol~ming a part hereof anEI/o~ subsidiary,
associated, affiliated companies or owned and contro(led companies as now or.~hereafter constituted and of which p~6mpt no~i~e has been
given ~o the Company.                                                                .

 2. INSURED:
    The word "Insured’~ includes The Named Insured end/or a{~y Officer..Director, Stockholder, Pard’or or Employee of The Named
 Insured, while acting in his capacity as such.



CDEU-1 (g-73}



       CONF~ .................... ....... ¯ ........
                                                                                                                             . -ooooo,
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                                                                                  ~,




                                                             CONDITIONS



1. PRIOR IN~SURANCE AND NON CUMULATION OF LIA.                       Policies shall be main’~ained in fu}l effec~ dur~n~ the currency!
   BILITY -                                                          hereof except for any reduction of the aggregate [ rn ts co~t~ n~J’
   It is agreed that [f any loss covered hereuhder is also covered




                                                                                                            REP- 000006
 fCTIVg O~DER
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                      It is agreed that except only with respect to policy period;
                      premium and limits of liability, this policy is hereby amended to
                      follow all the terms, conditions, definitions and exclus.ione of
                      the first ¯layer umbrella policy, (LONDON AND VA~IOOS BR[TXS~)
                      IC/017582 and all renewals and replacements¯ thereof.       It is
                      further ~greed that all pre-printed terms and conditions hereon
                      are deleted to the extent that they vary from or are inconsistent
                      with the terms and conditions of the first layer umbrella.




                       Nothing herein contained shall vary, alter, waive ~r extend any
                       of    the   terms,  representations, " declarations~ exclusion.s~
                       conditions or agreeraents of the Policy other than as aSove
                       stated.

                       The information below is required only when this endorsement is
                       issued subsequent to preparation of the~ policy.

                       To be attached to and forming part of Policy No.

                       Issued to

                       Endorsement NQ.

                       Effective                      ¯ ~                                      19               .~ ~             ~ ¯



                                                                                             -
     ¯       co~m                             : ...................= ....................................................
                                                                                                                    L~                            -
         S~~2009                                                                                                                            REP- 000007
................... ~_CTI~ .O~E~ ............................   : ............................................................          :     ~ ..............................................
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                                                                                                            STOCK COMPANY
         [] REPUBLIC INSURANCE COMPANY
         [] VANGUARD INSURANCE COMPANY
                                                                                         Member Of
                                                                             REPUBLIC INSURANCE COMPANY GROUP
                                                                                     A CAPITAL STOCK COMPANY.


                                                                            2727 Turtle Creek Boulevard, Dallas, Texas 75219
                                                                                           EFFECTED THROUGH
                                                                               CRAVENS, DARGAN & CO., SPECIAL RISKS
                                                                                P. O. Box 1660 -- Houston, Texas 77001




  This policy ia made and accepted eubiect to the provisions and stipulations here{halter stated, which are hereby made a part of
this policy, together with such other provisions, stipulations and agreements as may be added hereto, as provided in this policy,



          CONFIDEN~i!~                                .,
      SUBJEC~RIL 2009                                                                                       REP- 000001
        ~_~ ORI)t~R
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    Agrees with the insured, named in the deo(aratlons made a part hereof, In consideration of the payment of the premium and In
    reliance upon the statements in the declarations and subject to the limits of liability, exclusions, conditions and other terms of
    the policy:
    The Insuring Agreements and any Special Provisions are contained In the separate Coverage Form or Forms issued to corn-
     lete tl~is policy.

                                                            CONDITIONS




       CONFID~                          "
   SUBJEC~’II~VAPRIL 2009 .........
~ =~~~ .....                          =~ _ ............................ _ .............................. _ ...............................
                                                                                                                     ~,=~:~’-_~f ..........~_~,=::~
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                       NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                      (BROAD FORM)




                                     WAR RISK EXCLUSION ENDORSEMENT
                        This policy shall not apply to any liability Of the Insured dir~]ctly or }ndi~’ecUy




    CONF~DE~_

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